        Case 1:25-cv-00766-JEB          Document 61        Filed 03/26/25     Page 1 of 2




                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


J.G.G., et al.,

Plaintiffs–Petitioners,

                             v.                              Case No: 1:25-cv-00766-JEB

DONALD J. TRUMP, in his official capacity as
President of the United States, et al.,

Defendants–Respondents.



                                  NOTICE TO THE COURT

        Pursuant to the March 24, 2025, Court Order (ECF No. 52), Plaintiffs respectfully

provide notice to the Court that they do not wish for their TRO motion to be converted to a

Motion for a Preliminary Injunction. Instead, Plaintiffs will file a P.I. Motion on Friday, March

28, 2025, in which they intend to submit additional factual material so that there is a more

complete record.

        Plaintiffs also respectfully request that, for good cause, the Court extend the TRO for an

additional 14 days, until Saturday April 12, 2025. Plaintiffs will file a motion, with a proposed

order, to extend the TRO.



 Dated: March 26, 2025                            Respectfully submitted,

 Noelle Smith                                     /s/ Lee Gelernt
 Oscar Sarabia Roman                              Lee Gelernt (D.D.C. Bar No. NY0408)
 My Khanh Ngo                                     Daniel Galindo (D.D.C. Bar No. NY035)
 Cody Wofsy                                       Ashley Gorski
 AMERICAN CIVIL LIBERTIES UNION                   Patrick Toomey
 FOUNDATION                                       Sidra Mahfooz
 425 California Street, Suite 700                 Omar Jadwat


                                                 1
      Case 1:25-cv-00766-JEB       Document 61    Filed 03/26/25      Page 2 of 2




San Francisco, CA 94104                   Hina Shamsi (D.D.C. Bar No. MI0071)
(415) 343-0770                            AMERICAN CIVIL LIBERTIES UNION
nsmith@aclu.org                           FOUNDATION,
osarabia@aclu.org                         125 Broad Street, 18th Floor
mngo@aclu.org                             New York, NY 10004
cwofsy@aclu.org                           (212) 549-2660
                                          lgelernt@aclu.org
Arthur B. Spitzer (D.C. Bar No. 235960)   dgalindo@aclu.org
Scott Michelman (D.C. Bar No. 1006945)    agorski@aclu.org
AMERICAN CIVIL LIBERTIES UNION            ptoomey@aclu.org
FOUNDATION OF THE DISTRICT OF             smahfooz@aclu.org
COLUMBIA                                  ojadwat@aclu.org
529 14th Street, NW, Suite 722            hshamsi@aclu.org
Washington, D.C. 20045
(202) 457-0800                            Somil B. Trivedi (D.C. Bar No. 1617967)
aspitzer@acludc.org                       Bradley Girard (D.C. Bar No. 1033743)
smichelman@acludc.org                     Michael Waldman (D.C. Bar No. 414646)
                                          Sarah Rich
                                          Skye Perryman (D.C. Bar No. 984573)
                                          Audrey Wiggins (DC Bar No. 482877)
                                          Christine L. Coogle (DC Bar No. 1738913)
                                          Pooja A. Boisture
                                          DEMOCRACY FORWARD
                                          FOUNDATION
                                          P.O. Box 34553
                                          Washington, DC 20043
                                          Phone: (202) 448-9090
                                          Fax: (202) 796-4426
                                          strivedi@democracyforward.org
                                          bgirard@democracyforward.org
                                          mwaldman@democracyforward.org
                                          srich@democracyforward.org
                                          sperryman@democracyforward.org
                                          awiggins@democracyforward.org
                                          ccoogle@democracyforward.org
                                          pboisture@democracyforward.org


                                          Attorneys for Plaintiffs-Petitioners




                                          2
